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Defendant Jarvis’ Reply Motion to Dismiss
Exhibit E
Transcript Excerpts as Cited in Brief from hearings on
October 27, 2005
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October 11, 2007
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IN THE UNITED STATES DISTRiIctT
FOR THE DISTRICT OF NEW MEXICO LIVED

UNITED STATES OF AMERICA,

Plaintifeé,
Ve. MO. Cr-05-1o0..
DANA JARVIS,

Defendant.

TRANSCRIPT OF PROCEEDINGS

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BEFORE: THE HONORABLE JUDITH C. HERRERA
United States District Judge

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represent you on the eyiminal matter, Ms. Fitzgerald, and Mr.
Jarvis, the dame question on the forfeiture matter?

Mf. FITZGERALD: Yes, I waive any conflict, Your
Honor.

MR, JARVIS: Yea, I doa, Your Honor.

THE COURT: Okay. ALI right. Let me ask Mr. Braun,
is there anything in addition?

MR. BRAUN: Your Honor, in footnote two af the
qovernmant's mation there are many potentiai conflicts that
the Court raised in that Herrera case. J think there are a
few more if the Court --

THE COURT: Okay. bet mé double-check here,

MR. BRAUN: And then aleo I would like to raise the
issue, as the Court is aware Ms. Rosenstein, of course, was
appointed under the Criminal Justice Act, and I don’t think it
is appropriate to have a defendant retain an attorney as toa
one part of the criminal prosecution, but have the government
pay for an attorney ag the other part.

MR. McINTYRE: May I address that, Your Honor?

THE COURT: Yes.

MR. MCINTYRE: Mr. Jarvis is indigent at the moment
because ali of hie adeets have been frozen, and by the way, I
fully disclosed this matter to Ma. Rosenstein and she agreed

to allow me to enter for the ferfeiture tasues. A friend of

Mr. Jarvis delivered to me an initial retainer fee which I

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1 disclosed to counsel, I told him wha it waa and I said look
2 the guy up, if you are gaing to seize my bank account do it
3 now, and apparently, I am net sure whether they think that

4 they haven’t seized it, the money is an my trust account, I
5 haven't dispersed a dime of it yet, but’ he is still indigent,
& it is not hia money that retained me, it is a friend whe has
3 on the check loan for Dana Jarvis.

& Now, if we can untireeze some of his assets, then I
2 would say yes, he would have to retain Ma. Rosenstein

10 privately. But at this moment in time he is indigent, and I

il was retained by a friend, and I don't think that it is

12 | appropriate to say, well, now he has retained an attorney and

government were to agree to unfreese enough money to pay

LS attorneys, I would change my position.

16 MR. JARVIS: Your Honor, I have two private attorneys
lined up, private attorneys who are willing to take my case if

Il was able to pay for them the monies that were frozen in my,

19 or seized from my bank account, came from a title company in
ad Santa Fe and a Erust im Colorado. Those are 100 percent
21 legitimate assete from a legitimate source, and I don’t

believe that the gavernment had any right putting their hands

on that money, and I would appreciate it if the account could

24 be unfiroven.

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I have back child support payments that are due also

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! 13 he can’t have appointed counsel at this moment. If the
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on the money coming from my night club, there is taxes and
insurance I have due, and the government's planning on taking
my house away, my home in Bernalillo, and I have a mortgage
payment with Commercial Federal on that house, and I have been
in jail now over two months. The third mortgage payment is
overdue, if is coming up, Commercial Federal has started
foreclosure proceedings on that house. Soa if the government
wants to take that away from me, they ought to let me get to
my money so I can make the payments on it so they will have
something to take away, otherwise between the ex-wives, you
know, Mr. Braun, Your Honor, with all due respect, I beg of
you, put your foot down and to unfreeze my asgets so that I
Can get proper defense and pay for an attorney on my own, and
not put, keep the burden on the government, and also so that
Mr. Braun and his crew doesn’t end up in court with the State
of New Mexico, two lending institutions and two ex-wives. I
wouldn't wish that on anybody.

Thanka for letting me talk, Your Honor.

THE COURT: Mr. Braun.

MR. BRAUN: Your Honor, we are not here to address
that issue at this time, but under the CJA the defendant is
entitled to ome counsel for thie case. If he is going to have
an appointed counsel, she can represent him on the whole
case. CJA, from wy understanding, does not differentiate

between the forfeiture portion of the criminal case and the

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guilt portion of the criminal case, he is entitled to one
lawyer.

Now, if it is a loan, as Mr. McIntyre said, then it
ie Mx. Jarvis’ money that he used ta retain Mr. McIntyre. Mr.
McIntyre represents Mr. Jarvis, not the friend whe loaned the
money, go he can either retain Mr. Mcintyre for the entire
case or have a GTA attorney appointed for the entire cage, but
he is not entitled te two.

THE COURT: All right. We really aren’t here on that
issue right at the moment, with respect to the appointment of
counsel or even addressing all of the asset issues that Mr.
Jarvis discuased. Soa hack ta the issue really on potential
conflict, jet me ask the defendants 2a few more questions
here. Again, going back to the issue of independent
representation where you have different attorneys and some of
the issues that could arise. One of the issues that has been
identified by our appellate courts is do you understand that
it could arise that one of you might cooperate with the
government in exchange for leniency, that might be a conflict
that could arise between the two af you. Again, I am not
saying what the facts are in this cage, I am just saying
that's an issue that could result in a conflict between. Do
you understand that?

MS. FETAGRRALD; Yee,

ME. JARVIS: I understand that definitely wouldn't

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2 iN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEATCO

4 UNITED STATES OF AMERICA,

5 Plaintiff,

6 Vs. WO. CR-O5-1849 GH
7 DANA JARVIS, et al.,

B Defendanta.

TRANSCRIPT OF PROCEEDINGS
10 October 11, 2007

11 BEFORE: THE HONORABLE JUDITH ¢C. HERRERA
United States District Judge

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can’t talk very loud.

THE COURT: We do have someone on the telephone whoa
needs to hear us, so any of you whe speak, it probably would
help i£ you spoke into the microphone.

MR, GORENCE: There’s a couple of issues. The first,
I would just like clarification. After the les pendens is
removed is the Court contemplating a period of time after?

And there is presently a filed motion on behalf of Mr. Jarvis
to dismiss, but that he would engage private counsel to the
extent that ia possible with the property that is now
unattached, because it seema, I know that that's the
government’! a concern as we look at scheduling, I dan’t know,
and with Mr. Romero's departure to Iraqd, where-we can really
meaningfully meet unless Mise Neal-Post is going to bake over
full time and --

THE COURT: Well, I guesa that’a one of the things
that I need to hear from Miss Post on, or all of you on. I
recognize the fact that there may be scheduling issues in this
case that might be different from most cases, so I do want you
all to -- T’1l Just have to hear from you all on that.

Mr. Braun, it looks like you have something to say.

MR. BRAUN: Well, Your Honor, from the government's
pereapective 1 think there needa ta be gome deadlines in place

te force the issue so that Mr, Jarvis knows he needs to hire

25 | the attorney, @ither a trial deadline or something of that

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sort. As far as coming up with scheduling dates, it would be
helpful if I had just one person designated from the defense
to deal with who could act on behalf of all the defense
attorneys.

MR, GORENCE: That's going to be very difficult, Your
Honor. It's one thing to coordinate. Your Honor, I can meet
with the U.S. Attorney’s Office, but to have my schedule, and
everybody's schedule, just for simplicity it's going to be
very difficult. I have, currently, the courthouge case has
got a firm setting of May 5. Mr. Blackburn and Mr. Sizemore,
I think that’s going to be difficult just to, say, appoint one
person, and here 18 the matrix of where we are preoccupied
within anether courtroom.

THE COURT: Well, I'm not necessarily asking for you
all to set a qoal for a trial date, I’m asking, really, for
you all to give me some guidance on the motions that need ta
be filed, and so forth. I'll set a trial date and then we
will deal with that after I set the trial date. But obviously
we need ta get a trial date, and I intend toe do that. And
again, I expect to hear from Mr. Jarvie's counsel on some of
the other iasues that you touched on, Mr. Gorence, other
counsel and things of that nature. I didn’t mean that you had
ta addrese it today but --

MS. NEAL-POST: I can addrees Mr. Romero's

availability. 1 spoke with him at 11:30 this merning. He

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